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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR207
                              )
          v.                  )
                              )
SAMUEL HERNANDEZ,             )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

for release pending sentencing (Filing No. 51).              Accordingly,

          IT IS ORDERED that a hearing on said motion is

scheduled for:

                 Thursday, October 12, 2006, at 2:30 p.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 11th day of October, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
